                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTII CAROLINA
                               WESTERN DMSION
                                 No. 5:18-CR-235-D



UNITED STATES OF AMERICA,                 )
                                          )
                   v.                     )
                                          )                               ORDER
SHAQUANDRA MCALLISTER,                    )
                                          )
                        Defendant.        )


       On May 29 and June 1, 2020, Shaquandra McAllister ("McAllister'' or "defendant") moved

for return of property. See [D.E. 373, 389]. On August 28, 2020, the government responded and

notified the court that the government did not seize defendant's cellular phone and that the $32,620

in United States currency that was seized, was subject to forfeiture, and previously forfeited. See

[D.E. 389]. There is no property to return. See id. The motions [D.E. 372, 373] are DENIED.

       SO ORDERED. This_!_§_ day of September 2020.




                                                          ~s~~w1Rm
                                                           United States District Judge




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